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Case 2:17-cv-02040-JD Document 1 Filed 05/03/17 Page 1 of 67

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

UNITED STATES OF AMERICA, ex rel. Civil Action No.
[UNDER SEAL],

Plaintiff,

COMPLAINT AND JURY DEMAND
V.

Filed Under Seal Pursuant to
[UNDER SEAL], 31 U.S.C. § 3730(b)(2)

 

Defendants.

 

 

 

FILED UNDER SEAL

NOT TO BE FILED
ON PACER
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Case 2:17-cv-02040-JD Document 1 Filed 05/03/17 Page 2 of 67

 

UNITED STATES OF AMERICA ex rel. NHCA-
TEV, LLC and on behalf of the STATE OF
CALIFORNIA, STATE OF COLORADO,
STATE OF CONNECTICUT, STATE OF
DELAWARE, DISTRICT OF COLUMBIA,
STATE OF FLORIDA, STATE OF GEORGIA,
STATE OF HAWAII, STATE OF ILLINOIS,
CITY OF CHICAGO, STATE OF INDIANA,
STATE OF LOUISIANA, STATE OF
MARYLAND, COMMONWEALTH OF
MASSACHUSETTS, STATE OF MICHIGAN,
STATE OF MINNESOTA, STATE OF
MONTANA, STATE OF NEVADA, STATE OF
NEW JERSEY, STATE OF NEW MEXICO,
STATE OF NEW YORK, CITY OF NEW
YORK, STATE OF NORTH CAROLINA,
STATE OF OKLAHOMA, STATE OF RHODE
ISLAND, STATE OF TENNESSEE,

STATE OF TEXAS, COMMONWEALTH OF
VIRGINIA, and STATE OF WISCONSIN,

Plaintiffs,
V.
TEVA PHARMACEUTICAL PRODUCTS LTD.,
TEVA PHARMACEUTICAL USA INC., TEVA
NEUROSCIENCE, INC., and TEVA SALES
AND MARKETING, INC.,

Defendants.

 

 

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Civil Action No.
COMPLAINT AND JURY DEMAND

Filed Under Seal Pursuant to
31 U.S.C. § 3730(b)(2)
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Case 2:17-cv-02040-JD Document 1 Filed 05/03/17 Page 3 of 67

This is an action brought on behalf of the United States of America by NHCATev, LLC
(“Relators”), by and through their attorneys, against Defendants, pursuant to the gui tam
provisions of the Federal Civil False Claims Act, 31 U.S.C.§ 3729 et seq. and pursuant to the
following State qui tam statutes: the California False Claims Act, Cal. Gov’t Code § 12650 et
seq. (Deering 2000); the Connecticut False Claims Act for Medical Assistance Programs, Conn.
Gen. Stat. § 17b-301a et seq. (2010); the Delaware False Claims and Reporting Act, Del. Code
Ann. tit. 6, § 1201 et seg. (2000); the District of Columbia False Claims Act, D.C. Code § 2-
308.13 et seg. (2000); the Florida False Claims Act, Fla. Stat.§ 68.081 ot seq. (2000); the
Georgia False Medicaid Claims Act, Ga. Code Ann. § 49-4-168 et seq. (2007); the Hawaii False
Claims Act, Haw. Rev. Stat. § 661-21 ef seq. (2006); the Illinois False Claims Act, 740 Ill.
Comp. Stat. § 175/1 et seg. (2000); the City of Chicago False Claims Act, Municipal Code §§ 1-
21-010 et seq. (2005); the Indiana False Claims and Whistleblower Protection Act, Ind. Code §
5-11-5.5 et seg. (2007); the Louisiana Medical Assistance Programs Integrity Law, La. Rev. Stat.
Ann. § 46:437.1 et seq. (2006); the Massachusetts False Claims Act, Mass. Gen. Laws ch. 12, §
5A et seg. (2007); the Michigan Medicaid False Claims Act, Mich. Comp. Laws § 400.601 et
seg. (2007); the Montana False Claims Act, Mont. Code Ann. § 17-8-401 et seq. (1999); the
Nevada False Claims Act, Nev. Rev. Stat. § 357.010 et seg. (2007); the New Jersey False Claims
Act, N.J. Stat. Ann. § 2A:32C- 1 et seg. (West 2007); the New York False Claims Act, N.Y.
State Fin. Law § 187 et seg. (McKinney 2010); the North Carolina False Claims Act, N.C. Gen.
Stat. § 1-605 et seg. (2010); the Oklahoma Medicaid False Claims Act, Okla. Stat. tit. 63, § 5053
et seq. (2007); the Rhode Island False Claims Act, R.I. Gen. Laws § 9-1.1-1 et seq. (2008); the
Tennessee Medicaid False Claims Act, Tenn. Code Ann. § 71-5-181 et seg. (2006); the Texas

Medicaid Fraud Prevention Act, Tex. Hum. Res. Code Ann. § 36.001 et seg. (West 2006); the

 
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Case 2:17-cv-02040-JD Document 1 Filed 05/03/17 Page 4 of 67

Virginia Fraud Against Taxpayers Act, Va. Code Ann. § 8.01-216.1 et seg. (2011); and the
Wisconsin False Claims for Medical Assistance Law, Wis. Stat. § 20.931 et seg. (2007) (“State
qui tam statutes” or “Qui Tam States”) and alleges the following:
PRELIMINARY STATEMENT

1. This is a civil action brought against Teva Pharmaceutical Products Ltd., Teva
Pharmaceutical USA Inc., Teva Neuroscience, Inc., and Teva Sales and Marketing, Inc.
(hereinafter collectively referred to as “TEVA” or “DEFENDANTS”) under the False Claims
Act, 31 U.S.C. §§ 3729-3733 (the “FCA”), State gui tam statutes and common law to recover
treble damages sustained by, and civil penalties and restitution owed to, the United States
Government as a result of two intertwined, unlawful drug marketing schemes by TEVA. TEVA
paid tens of millions of dollars to employ coverage specialists and nurses who unlawfully
provided services to prescribers in exchange for a recommendation of TEVA’s multiple sclerosis
(“MS”) drug Copaxone®. The first scheme involves providing reimbursement support services
by offering free coverage specialists who handled all the insurance determinations, verifications,
and even appeals involved with determining whether Copaxone® would be a covered drug under
the patient’s plan thereby relieving prescribers’ office staff of this time consuming work. The
second scheme involves providing free nursing services to the patients of prescribers taking
Copaxone®; thereby relieving prescribers and the prescribers’ nurses from time consuming
follow-up care associated with medications administered by inj ection’. These reimbursement
support services are valuable, tangible, “in kind” benefits to providers—typical of unlawful

“quid pro quo” kickback schemes. As a result of these schemes, pharmacies have and continue

 

‘ Copaxone® was marketed and sold in a 20 mg injectable dosage from 1996 until 2014. In
2014, TEVA also released a 40 mg dosage of Copaxone® which requires less frequent injections
by the patient.

 
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Case 2:17-cv-02040-JD Document 1 Filed 05/03/17 Page 5 of 67

to submit claims to Medicare and Medicaid that were tainted by kickbacks, causing these
programs to pay tens of millions of dollars in improper reimbursements.

2. Defendants’ scheme completely undermined the decision making of providers, an
important element in Government Healthcare Program coverage policy. The providers
prescribing TEVA’s drug Copaxone® did not necessarily do so because they believed, based on
their review of peer-reviewed medical literature or discussion with their colleagues, that the
drugs would help their patients. Rather, TEVA’s drug Copaxone® was and is often supplied
because Defendants actively and improperly pursued and enticed providers with kickbacks.

3. As aresult of these schemes, pharmacies have and continue to submit claims to
Medicare and Medicaid that were tainted by kickbacks, causing these programs to pay tens of

millions of dollars in improper retmbursements.

JURISDICTION AND VENUE

4, This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.
§§ 1331 and 1345. The Court has original jurisdiction of the State law claims pursuant to 31
U.S.C. § 3732 (b) because this action is brought under State Laws for the recovery of funds paid
by the Qui Tam States, and arises from the same transaction or occurrence brought on behalf of
the United States under 31 U.S.S. § 3730.

5. This Court has personal jurisdiction over Defendants because, among other
things, Defendants transact business in this District, and engaged in wrongdoing in this District.

6. Venue is proper in this District pursuant to 31 U.S.C. § 3732(a) as well as 28
U.S.C. §§ 1391(b) and 1391(c) because TEVA transacts business in this District and, in
furtherance of its fraudulent kickback schemes, caused to be submitted or conspired to submit

false claims in this District.

 
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Case 2:17-cv-02040-JD Document 1 Filed 05/03/17 Page 6 of 67

7. The causes of action alleged herein are timely brought because, among other
things, (a) the conduct has occurred within the last six years and/or within six years of the filing
of the original complaint in this action; and/or (b) the efforts by Defendants to conceal from the
Unitied States its wrongdoing in connection with the allegations made herein justify tolling;
and/or (c) any statutes of limitations have been tolled by operation of the Wartime Suspension of

Limitations Act, 18 U.S.C. § 3287.

PARTIES
A. Plaintiff/Relator NHCATev, LLC

8. Plaintiff/Relator NHCATev is a Delaware Limited Liability Corporation formed
for the sole purposes of acting as a Relator in this matter with a principal place of business
located in Collingswood, New Jersey.

9. Relator NHCATev, LLC is an original source of the allegations in this complaint
as defined pursuant to 31 U.S.C. § 3730(b)(2) and these allegations are not based upon
publically-disclosed information. NHCATev LLC has provided the Government with material
information prior to the filing of this action in accordance with 31 U.S.C. § 3730(b)(2). The
Relator has independent knowledge of the allegations and transactions herein.

10. The Relator brings this action on behalf of the United States pursuant to the qui
tam provisions of the federal False Claims Act, 31 U.S.C. § 3729 et seq.

B. Defendant Teva Pharmaceutical Products Ltd., Teva Pharmaceutical USA Inc.,
Teva Neuroscience, Inc., and Teva Sales and Marketing, Inc.

11. Defendant, Teva Pharmaceutical Products Ltd. (Teva Ltd.) is a world-wide
pharmaceutical company engaged in the development, manufacturing, marketing and sale of
pharmaceutical products, including specialty medicines, brand and generic prescriptions

medications and over-the-counter (“OTC”) products, active pharmaceutical ingredients, and

 
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Case 2:17-cv-02040-JD Document 1 Filed 05/03/17 Page 7 of 67

novel new therapeutic entities. Teva Pharmaceutical Industries, Ltd. is an Israeli corporation
having its principal place of business at 5 Basel Street, P.O. Box. 3190, Petach Tikva 49131,
Israel.

12. Defendant Teva Pharmaceutical USA Inc. (Teva USA) is a pharmaceutical
company engaged in the development, manufacturing, marketing and sale of pharmaceutical
products, including specialty medicines, brand and generic prescriptions medications and over-
the-counter (“OTC”) products, active pharmaceutical ingredients, and novel new therapeutic
entities. Teva USA is domiciled in the Commonwealth of Pennsylvania, with its principal place
of business at 1090 Horsham Road, P.O. Box 1090, North Wales, Pennsylvania 19454. Teva
USA does business in and throughout the United States, including in the Eastern District of
Pennsylvania.

13. Defendant Teva Neuroscience, Inc., is a division or operating unit of Teva USA,
and is domiciled in the State of Kansas with its principal place of business at 11100 Nall Avenue,
Overland Park, Kansas 66211. Its principal place of business was formerly at 901 E. 104th Street
Suite 900, Kansas City, MO 64131. Teva Neuroscience does business in and throughout the
United States, including in the Eastern District of Pennsylvania. Teva Neuroscience markets
Teva’s Copaxone® drug.

14, Defendant Teva Sales and Marketing, Inc. is a new legal entity created at the
direction of Teva USA and also is a division of Teva USA. Upon information and belief,
effective January 1, 2014, all Teva Neuroscience employees were transferred to Teva Sales and
Marketing. Upon information and belief, Teva Sales and Marketing is domiciled in the
Commonwealth of Pennsylvania, with its principal place of business at 1090 Horsham Road,

P.O. Box 1090, North Wales, Pennsylvania 19454. Teva Sales and Marketing does business in
Case 2:17-cv-02040-JD Document 1 Filed 05/03/17 Page 8 of 67

and throughout the United States, including in the Eastern District of Pennsylvania. Teva Sales
and.Marketing markets Teva’s Copaxone® drug.

15. Defendants, Teva Ltd., Teva USA, Teva Neuroscience, and Teva Sales and
Marketing, are and function as alter egos of each other, as a joint entity, as an integrated
enterprise and/or as agents of each other. At all pertinent times, Teva USA controlled, directed
and supervised the sales and marketing activities of Teva Neuroscience and Teva Sales and
Marketing, which included the marketing of Copaxone®, as well as their employees, and each of |
the Defendants is legally responsible for the actionable conduct detailed in this Complaint. At all
pertinent times, the employee and labor relations, as well as the compensation and benefit
activities and the sales and marketing policies and procedures of TEVA have operated from and
through the centralized control of Teva USA, which has established employee and labor
relations, compensation and benefits and sales and marketing policies and procedures for Teva
Neuroscience and Teva Sales and Marketing.

THE REGULATORY ENVIRONMENT

16. Pursuant to the Anti-Kickback Statute (AKS), it is unlawful to knowingly offer or
pay any remuneration, in cash or in kind, in exchange for the referral of any product (including a
prescription drug product) for which payment is sought from any Government Healthcare
Program, including Medicare, Medicaid, and TRICARE.

17. The Anti-Kickback Statute, 42 U.S.C. § 1320a-7b et seg. (“AKS”), states as
follows in relevant part:

(b) Illegal remunerations

(1) Whoever knowingly and willfully solicits or receives any
remuneration (including any kickback, bribe, or rebate) directly or
indirectly, overtly or covertly, in cash or in kind—

(A) in return for referring an individual to a person for the
furnishing or arranging for the furnishing of any item or service for

 
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Case 2:17-cv-02040-JD Document 1 Filed 05/03/17 Page 9 of 67

which payment may be made in whole or in part under a Federal
health care program, or

(B) in return for purchasing, leasing, ordering, or arranging for or
recommending purchasing, leasing, or ordering any good, facility,
service, or item for which payment may be made in whole or in
part under a Federal health care program,

shall be guilty of a felony and upon conviction thereof, shall be
fined not more than $25,000 or imprisoned for not more than five
years, or both.

(2) Whoever knowingly and willfully offers or pays any
remuneration (including any kickback, bribe, or rebate) directly or
indirectly, overtly or covertly, in cash or in kind to any person to
induce such person—

(A) to refer an individual to a person for the furnishing or
arranging for the furnishing of any item or service for which
payment may be made in whole or in part under a Federal health
care program, or

(B) to purchase, lease, order, or arrange for or recommend
purchasing, leasing, or ordering any good, facility, service, or item
for which payment may be made in whole or in part under a
Federal health care program,

shall be guilty of a felony and upon conviction thereof, shall be
fined not more than $25,000 or imprisoned for not more than five
years, or both.

18. For purposes of the AKS, “remuneration” includes the transfer of anything of
value, in cash or in-kind, directly or indirectly, covertly or overtly. Importantly, the statute has
been interpreted to cover any arrangement where one purpose of the remuneration is to obtain
money for referral of services or to induce further referrals.

19. The AKS is designed to, inter alia, ensure that patient care will not be improperly
influenced by inappropriate compensation from the pharmaceutical industry.

20. In accordance with the federal healthcare AKS, applicable regulations directly
prohibit providers from receiving remuneration paid with the intent to induce referrals or

business orders, including the prescription of pharmaceuticals paid as a result of the volume or

value of any referrals or business generated, which results in federal program expenditures. See

 
Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 10 of 67

42 C.F.R. § 1001.952(f). Thus, drug companies may not offer or pay any remuneration, in cash
or kind, directly or indirectly, to induce physicians or others to order or recommend drugs that
may be paid for by a Government Healthcare Program. The law not only prohibits outright bribes
and rebate schemes, but also prohibits any payment by a drug company that has, as one of its
purposes, inducement of a physician to write additional prescriptions for the company’s
pharmaceutical products.

21. Such remunerations are kickbacks when paid to induce or reward physicians for
writing prescriptions. Kickbacks increase Government-funded health benefit program expenses
by inducing medically unnecessary overutilization of prescription drugs and excessive
reimbursements. Kickbacks also reduce a patient’s healthcare choices, as physicians may
prescribe drug products based on the physician’s own financial interests rather than according to
the patient’s medical needs.

22. The federal healthcare AKS arose out of Congressional concern that payoffs to
those who can influence healthcare decisions will result in goods and services being provided
that are medically unnecessary, of poor quality, or even harmful to a vulnerable patient
population. To protect the integrity of the Government Healthcare Programs from these difficult-
to-detect harms, Congress enacted a prohibition against the payment of kickbacks in any form
resulting in federal program expenditures, regardless of whether the particular kickback actually
gives rise to over-utilization or poor quality of care.

23. The AKS contains statutory exceptions and certain regulatory “safe harbors” that
exclude certain types of conduct from the reach of the statute. See 42 U.S.C. § 1320a-7b(b)(3).
None of the statutory exceptions or regulatory safe harbors protect Defendants from liability for

the conduct alleged herein. Compliance with the AKS is a condition of payment under federal

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 11 of 67

health care programs.

24. Every Government Healthcare Program requires every provider or supplier to
ensure compliance with the provisions of the AKS and other federal laws governing the
provision of healthcare services in the United States. Compliance with the AKS is expressly and
impliedly required for reimbursement of Government Healthcare Programs federal program
claims, and claims made in violation of the law are actionable civilly under the False Claims Act.
See 42 U.S.C. § 1320a-7b(g) (2010) (a “claim that includes items or services resulting from a
violation of... [the AKS] constitutes a false or fraudulent claim for purposes of [the FCA]....”).

25. The United States has deemed violations of the AKS to be material to its decision
to pay health care claims, demonstrated in part through the requirement that providers and
suppliers certify compliance with the AKS as a condition of payment under Government
Healthcare Programs. If the United States had been aware that the claims discussed herein
resulted from conduct that violated the AKS, the United States would not have paid the claims

submitted in connection with the Defendants’ unlawful conduct.

26. A violation of the AKS is a violation of the federal FCA. The FCA, 31 U.S.C. §

3729, provides, in pertinent part, that:

(a) Any person who (1) knowingly presents, or causes to be
presented, to an officer or employee of the United States
Government or a member of the Armed Forces of the United States
a false or fraudulent claim for payment or approval; (2) knowingly
makes, uses, or causes to be made or used, a false record or
statement to get a false or fraudulent claim paid or approved by the
Government; (3) conspires to defraud the Government by getting a
false or fraudulent claim paid or approved by the Government;

OR Ok

is liable to the United States Government for a civil penalty of not
less than $5,000 and not more than $10,000, plus 3 times the

 
Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 12 of 67

amount of damages which the Government sustains because of the
act of that person.

31 US.C. § 3729(a)(1)(A)-(C). Within the meaning of the FCA, “knowingly” is defined
to include reckless disregard and deliberate indifference. Jd.

27. The Social Security Act’s “intent requirement” was amended in March 2010 as
part of the Patient Protection and Affordable Care Act (““PPACA”) to make clear that violations
of its anti-kickback provisions, like violations of the FCA, may occur even if an individual does
“not have actual knowledge” or “specific intent to commit a violation.” Public Law No. 111-148,
§ 6402(h).

28. In addition to treble damages, the FCA also provides for assessment of a civil
penalty for each violation or each false claim ranging from $5,000 to $10,000. See, 31 U.S.C. §
3729(a).

29. As detailed herein, TEVA devised schemes whereby it paid in-kind remuneration
to physicians in the form of reimbursement support services and nursing services to patients of
healthcare providers with the specific aim of increasing the usage of Teva’s Copaxone® drug.

30. Knowingly paying kickbacks to physicians to induce them to prescribe a
prescription drug on-label or off-label (or to influence physician prescriptions) for individuals
who seek reimbursement for the drug from a Government Healthcare Program or causing others
to do so, while certifying compliance with the federal healthcare AKS (or while causing another
to so certify), or billing the Government as if in compliance with these laws, violates the FCA
and similar state False Claims Acts.

AFFECTED HEALTH PROGRAMS
31. For the drug at issue in this case, generally, when a physician prescribes a drug, a

patient is provided with a prescription that is then filled at a pharmacy. The pharmacy then

10

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 13 of 67

submits the claim for payment to the relevant federal health care program(s) for reimbursement.

32. In certain circumstances, a federal program may also have pharmacy facilities that
directly dispense prescription drugs. In such cases, the federal health care program purchases the
drug directly rather than reimbursing the pharmacy.

A. Medicare

33. Medicare is a federal program that provides federally subsidized health insurance
primarily for persons who are 65 or older or disabled. See 42 U.S.C. §§ 1395, et seg. (“Medicare
Program”). Part D of the Medicare Program was enacted as part of the Medicare Prescription
Drug, Improvement, and Modernization Act of 2003, Pub. L. No. 108-173, to provide
prescription drug benefits for Medicare beneficiaries. Medicare Part D became effective January
1, 2006. All persons enrolled in Medicare Part A and\or Medicare Part B are eligible to enroll in
a prescription drug plan under Part D. HHS, through its component agency, CMS, contracts with
private companies (or “Part D sponsors”) to administer prescription drug plans. Such companies
are regulated and subsidized by CMS pursuant to one-year, annually renewable contracts. Part D
sponsors enter into subcontracts with many pharmacies to provide drugs to the Medicare Part D
beneficiaries enrolled in their plans.

34, Generally, after a physician writes a prescription for a patient who is a Medicare
beneficiary, that patient can take the prescription to a pharmacy to be filled. When the pharmacy
dispenses drugs to the Medicare beneficiary, the pharmacy submits a claim electronically to the
beneficiary’s Part D sponsor (sometimes through the sponsor’s pharmacy benefit manager, or
“PBM”). The pharmacy receives reimbursement from the sponsor (or PBM) for the portion of
the drug cost not paid by the beneficiary. The Part D sponsor is then required to submit to CMS

an electronic notification of the drug dispensing event, called the Prescription Drug Event

11

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 14 of 67

(“PDE”), which contains data regarding the prescription claim, including the service provider of
the drug, the prescriber of the drug, the quantity dispensed, the amount it has paid to the
pharmacy, and whether the drug is covered under the Medicare Part D benefit.

35. Payments to a Part D Plan sponsor are conditioned on the provision of
information to CMS that is necessary for CMS to administer the Part D program and make
payments to the Part D Plan sponsor for qualified drug coverage. 42 C.F.R. § 423.322. CMS’s
instructions for the submission of Part D prescription PDE claims data state that “information
_. necessary to carry out this subpart” includes the data elements of a PDE. PDE records are an
integral part of the process that enables CMS to administer the Part D benefit. Each PDE that is
submitted to CMS is a summary record that documents the final adjudication of a dispensing
event based upon claims received from pharmacies and serves as the request for payment for
each individual prescription submitted to Medicare under the Part D program.

36. | CMS gives each Part D sponsor advance monthly payments consisting of the Part
D sponsor plan’s direct subsidy per enrollee (which is based on a standardized bid made by the
Part D sponsor), estimated reinsurance subsidies for catastrophic coverage, and estimated low
income subsidies. 42 C.F.R. §§ 423.315, 423.329. At the end of the payment year, CMS
reconciles the advance payments paid to each Part D sponsor with the actual costs the sponsor
has incurred. In this reconciliation process, CMS uses the PDE claims data it has received from
the Part D sponsor during the prior payment year to calculate the costs the Part D sponsor has
actually incurred for prescriptions filled by Medicare beneficiaries under Part D. If CMS
underpaid the sponsor for low-income subsidies or reinsurance costs, it will make up the
difference. If CMS overpaid the sponsor for low-income subsidies or reinsurance costs, it will

recoup the overpayment from the sponsor. After CMS reconciles a plan’s low-income subsidy

12

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 15 of 67

and reinsurance costs, it then determines risk-sharing amounts owed by the plan to CMS or by
CMS to the plan related to the plan’s direct subsidy bid. Risk-sharing amounts involve
calculations based on whether and to what degree a plan’s allowable costs exceeded or fell below
a target amount for the plan by certain threshold percentages. 42 C.P.R.§ 423.336.

37. | CMS’s payments to the Part D sponsor come from the Medicare Prescription
Drug Account, an account within the Federal Supplementary Medical Insurance Trust Fund. 42
C.P.R.§ 423.315(a).

38. In order to receive Part D funds from CMS, Part D Plan sponsors, as well as their
authorized agents, employees, and contractors (including pharmacies), are required to comply
with all applicable federal laws, regulations, and CMS instructions.

39. By statute, all contracts between a Part D Plan sponsor and the Department of
Health and Human Services (“HHS”) must include a provision whereby the Plan sponsor agrees
to comply with the applicable requirements and standards of the Part D program as well as the
terms and conditions of payment governing the Part D program. 42 U.S.C. § 1395w-112.

40. | Medicare Part D Plan sponsors must also- certify in their contracts with CMS that
they agree to comply with all federal laws and regulations designed to prevent fraud, waste, and
abuse, including the FCA and AKS. 42 C.P.R.§ 423.505(h)(1).

41. In accordance with these express statutory and regulatory requirements, all
contracts entered into between CMS and Plan D Plan sponsors from 2006 through the present
include a provision in which the sponsor “agrees to comply with ... federal laws and regulations
designed to prevent ... fraud, waste, and abuse, including, but not limited to, applicable
provisions of Federal criminal law, the False Claims Act (31 U.S.C. §§ 3729, et seq.), and the

anti-kickback statute (§ 1127B(b) of the Act.)”

13

 

 
Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 16 of 67

42. CMS regulations further require that all subcontracts between Part D Plan
sponsors and downstream entities (such as pharmacies and PBMs) contain language obligating
the pharmacy to comply with all applicable federal laws, regulations, and CMS instructions. 42
C.F.R. § 423.505(i)(4)(iv).

43. A Part D Plan sponsor also is required by federal regulation to certify to the
accuracy, completeness and truthfulness of the PDE claims data submitted to CMS. Specifically,
the relevant regulatory provision, entitled “Certification of data that determine payment”,
provides in relevant part:

(1) General rule. As a condition for receiving a monthly payment
under subpart G of this part (or for fallback entities, payment under
subpart Q of this part), the Part D plan sponsor agrees that its chief
executive officer (CEO), chief financial officer (CFO), or an
individual delegated the authority to sign on behalf of one of these
officers, and who reports directly to the officer, must request
payment under the contract on a document that certifies (based on
best knowledge, information, and belief) the accuracy,
completeness, and truthfulness of all data related to payment. The
data may include specified enrollment information, claims data,
bid submission data, and other data that CMS specifies.

(2) Certification of enrollment and payment information. The
CEO, -CFO, or an individual delegated the authority to sign on
behalf of one of these officers, and .who reports directly to the
officer, must certify (based on best knowledge, information, and
belief) that each enrollee for whom the organization is requesting
payment is validly enrolled in a program offered by the
organization and the information CMS relies on in determining
payment is accurate, complete, and truthful and acknowledge that
this information will be used for the purposes of obtaining Federal
reimbursement.

(3) Certification of claims data. The CEO, CFO, or an individual
delegated with the authority to sign on behalf of one of these
officers, and who reports directly to the officer, must certify (based
on best knowledge, information, and belief) that the claims data it

14

 
Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 17 of 67

submits under§ 423.329(b)(3) (or for fallback entities, under§
423.871(f)) are accurate, complete, and truthful and acknowledge that
the claims data will be used for the purpose of obtaining Federal
reimbursement.

42 CER. § 423.505(k).

44. Compliance with the regulatory requirement that the PDE data submitted to CMS
is “true, accurate, and complete” is a condition of payment under the Medicare Part D program to
the extent that it involves a violation of the AKS.

45. In accordance with this regulatory requirement, since the Part D program began,
Medicare required each Part D Plan sponsor to sign annually an Attestation of Data Relating to
CMS Payment to a Medicare Part D Sponsor (“Attestation”). This Attestation states:

Pursuant to the contract(s) between the Centers for Medicare &
Medicaid Services (CMS) and the Medicare Part D Organization(s)
listed above, hereafter referred to as the Part D Organization,
governing the operation of the contract numbers listed above, the
Part D Organization hereby makes the following attestations
concerning CMS payments to the Part D Organization:

The Part D Organization attests that based on its best knowledge,
information, and belief, the final Prescription Drug Event (PDE)
data that have been submitted to and accepted by CMS as of [date]
with respect to the Part D plans offered under the above-stated
contract(s) for the dates of service of January 1, [prior year] to
December 31, [prior year], are accurate, complete, and truthful and
reflect all retroactive adjustments of which the Part D organization
has been informed by May 30, [current year]. In addition, the Part
D Organization attests that based on best knowledge, information,
and belief, the payments that have been made by the Part D
organization for the claims summarized by the aforementioned
PDE data were made in accordance with the coordination of
benefits guidance in Chapter 14 of the Medicare Prescription Drug
Benefit Manual and other applicable CMS guidance. The Part D
Organization attests that based on its best knowledge, information,
and belief as ofthe date(s) oflast successful DIR [Direct and

15

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 18 of 67

Indirect Remuneration Data] [prior year] data submission(s) via the
Health Plan Management System (HPMS) as listed above, the final
direct and indirect remuneration data submitted to CMS for the
Part D plans offered under the above-stated contract(s) for the
[prior] coverage year are accurate, complete, and truthful and fully
conform to the requirements in the Medicare Part D program
regulations and the Final Medicare Part D DIR Reporting
Requirements for [the prior year]. The Part D Organization also
certifies that based on its best knowledge, information, and belief
as of the date indicated below, all other required information
provided to CMS to support the determination of allowable
reinsurance and risk corridor costs for the Part D plans offered
under the above-stated contract(s) is accurate, complete, and
truthful. With regards to the information described in the above
paragraphs, the Part D Organization attests that it has required all
entities, contractors, or subcontractors, which have generated or
submitted said information (PDE and DIR data) on the Part D
Organization’s behalf, to certify that this information is accurate,
complete, and truthful based on its best knowledge, information,
and belief. In addition, the Part D Organization attests that it will
maintain records and documentation supporting said information.
The Part D Organization acknowledges that the information
described in the above paragraphs will be used for the purposes of
obtaining federal reimbursement and that misrepresentations or
omissions in information provided to CMS may result in Federal
civil action and/or criminal prosecution.

46. — Allapproved Part D Plan sponsors who received payment under Medicare Part D
in benefit years 2006 through the present date submitted these required Attestations in the same
or similar format.

47. Medicare regulations further provide: “If the claims data are generated by a
related entity, contractor, or subcontractor of a Part D plan sponsor, the entity, contractor, or
subcontractor must similarly certify (based on best knowledge, information, and belief) the
accuracy, completeness, and truthfulness of the data and acknowledge that the claims data will

be used for the purposes of obtaining Federal reimbursement.” 42 C.P.R. § 423.505(k)(3).

16

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 19 of 67

48. Medicare also enters into agreements with physicians to establish the physician’s
eligibility to participate in the Medicare program. For the physician to be eligible for
participation in the Medicare program, physicians must certify that they agree to comply with the
Anti-Kickback Statute, among other federal health care laws. Specifically, on the Medicare
enrollment form, CMS Form 855I, the “Certification Statement” that the medical provider signs
states: “You MUST sign and date the certification statement below in order to be enrolled in the
Medicare program. In doing so, you are attesting to meeting and maintaining the Medicare
requirements stated below.” Those requirements include:

I agree to abide by the Medicare laws, regulations and program
instructions that apply to me ... The Medicare laws, regulations and
program instructions are available through the fee-for-service
contractor. I understand that payment of a claim by Medicare is
conditioned upon the claim and the underlying transaction
complying with such laws, regulations, and program instructions
(including, but not limited to, the Federal anti-kickback statute and
the Stark law), and on the supplier’s compliance with all applicable
conditions of participation in Medicare.

I will not knowingly present or cause to be presented a false or
fraudulent claim for payment by Medicare, and will not submit

claims with deliberate ignorance or reckless disregard of their truth
or falsity

B. Medicaid

49. Medicaid is a joint federal-state program created in 1965 that provides health care
benefits for certain groups, primarily the poor and disabled. Each state administers a State
Medicaid program. The federal Medicaid statute requires each participating state to implement a
plan containing certain specified minimum criteria for coverage and payment of claims. 42
U.S.C. §§ 1396, 1396a(a)(13), 1396a(a)(30)(A). While drug coverage is an optional benefit, the
Medicaid programs of all states provide reimbursement for prescription drugs.

50. The federal portion of each state’s Medicaid payments, known as the Federal

17

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 20 of 67

Medical Assistance Percentage (“FMAP”), is based on the state’s per capita income compared to
the national average. 42 U.S.C. § 1396d(b). Among the states, the FMAP is at least 50 percent
and is as high as 83 percent. Federal funding under Medicaid is provided only when there is a
corresponding state expenditure for a covered Medicaid service to a Medicaid recipient. The
federal government pays to the state the statutorily established share of the “total amount
expended ... as medical assistance under the State plan.” 42U.S.C. § 1396b(a)(1).

51. The vast majority of states award contracts to private companies to evaluate and
process claims for payment on behalf of Medicaid recipients. Typically, after processing the
claims, these private companies then generate funding requests to the state Medicaid programs.
Before the beginning of each calendar quarter, each state submits to CMS an estimate of its
Medicaid federal funding needs for the quarter. CMS reviews and adjusts the quarterly estimate
as necessary, and determines the amount of federal funding each state will be permitted to draw
down as it incurs expenditures during the quarter. The state then draws down federal funding as
actual provider claims, including claims from pharmacies seeking payment for drugs, are
presented for payment. After the end of each quarter, the state then submits to CMS a final
expenditure report, which provides the basis for adjustment to the quarterly federal funding
amount (to reconcile the estimated expenditures to actual expenditures). 42 C.P.R.§ 430.30.

52. Claims arising from illegal kickbacks are not authorized to be paid under state
regulatory regimes. In fact, providers who participate in the Medicaid program must sign
enrollment agreements with their states that certify compliance with the state and federal
Medicaid requirements, including the AKS. Although there are variations among the states, the
agreement typically requires the prospective Medicaid provider to agree that he or she will

comply with all state and federal laws and Medicaid regulations in billing the state Medicaid

18

 

 
Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 21 of 67

program for services or supplies furnished.

53. Furthermore, in many states, Medicaid providers, including both physicians and
pharmacies, must affirmatively certify compliance with applicable federal and state laws and
regulations.

54. For example, in New York, physicians and pharmacies must periodically sign a
“Certification Statement for Provider Billing Medicaid,” in which the provider certifies that
claims submitted “to the State’s Medicaid fiscal agent, for services or supplies furnished,
[...]will be subject to the following certification .... I (or the entity) have furnished or caused to
be furnished the care, services, and supplies itemized and done so in accordance with applicable

federal and state laws and regulations.”

C. TRICARE

55. | TRICARE, (formerly known as CHAMPUS), is part of the United States
military’s health care system, designed to maintain the health of active duty service personnel,
provide health care during military operations, and offer health care to non-active duty
beneficiaries, including dependents of active duty personnel, and military retirees and
their\dependents. The military health system, which is administered by the Department of
Defense (“DOD”), is composed of the direct care system, consisting of military hospitals and
military clinics, and the benefit program, known as TRICARE. TRICARE is a triple-option
benefit program designed to give beneficiaries a choice between health maintenance
organizations, preferred provider organizations, and fee-for-service benefits.

56. | TRICARE prescription drug benefits are provided through three different
programs: military treatment facility outpatient pharmacies, TRICARE network retail

pharmacies and TRICARE’s mail order service. TRICARE contracts with a PBM to administer

19

 
Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 22 of 67

its retail and mail order pharmacy programs. In-addition, TRICARE beneficiaries can also pay
out-of-pocket to fill prescriptions at non-network retail pharmacies, and submit a claim for
reimbursement directly with TRICARE’s PBM. The claims process is different for each of these
pharmaceutical programs.

57. |Whena TRICARE beneficiary brings a prescription to a TRICARE network retail
pharmacy, for example, the pharmacy submits an electronic claim to the PBM for that
prescription event. The PBM sends an electronic response to the pharmacy that confirms the
beneficiary’s TRICARE coverage, and, if the prescription claim is granted, informs the
pharmacy of the calculated pharmacy reimbursement amount and the co-pay (if applicable) to be
collected from the beneficiary. The pharmacy then collects the co-pay amount (if any) from the
beneficiary and dispenses the medication. After a 10-day hold to ensure the prescription was
picked up and not returned to the shelf by the pharmacy, the PBM sends a TRICARE Encounter
Data (“TED”) record electronically to TRICARE. The TED record includes information
regarding the prescription event, including the reimbursement amount to be paid to the
dispensing pharmacy. TRICARE then authorizes the PBM to make payment to the pharmacy for
the amount remaining (after co-pay) on the claim. The PBM sends the payment to the pharmacy.
After the payment is made by the PBM’s bank, the PBM’s bank requests reimbursement from
the Federal Reserve Bank (“FRB”). The FRB then transfers funds to the PBM’s bank account.

58. If the prescription is filled at a non-network retail pharmacy, the beneficiary must
pay the full price of the prescription to the pharmacist and file a claim for reimbursement on DD
Form 2642, TRICARE/DOD.CHAMPUS Medical Claim- Patient’s Request for Medical
Payment (“Form 2642”). The Form 2642 is mailed to the PBM. As in the case of reimbursements

under the retail pharmacy program, a TED record is created and sent to TRICARE. TRICARE

20

 
Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 23 of 67

then authorizes payment to the TRICARE beneficiary. Upon receiving that authorization, the
PBM issues a check to the beneficiary, which is drawn on the PBM’ s bank account. TRICARE
then reimburses the PBM in the same manner as it does under the retail pharmacy program, such
that funds are transferred from the FRB to the PBM’s bank account.

59. TRICARE beneficiaries can also fill prescriptions through TRICARE’s mail order
pharmacy program as well. TRICARE beneficiaries submit prescriptions by mail, fax, or
electronically to TRICARE’s PBM, along with any co-pay (if applicable). TRICARE’s PBM
delivers the prescription to the beneficiary via free standard shipping. The medications dispensed
through the mail order pharmacy program are filled from the PBM’s existing inventory of
pharmaceuticals. The PBM then requests replenishment pharmaceuticals from DOD’s national
prime vendor contracted by Defense Logistics Agency (“DLA”). DOD procures the
pharmaceuticals through its national prime vendor and replenishes the PBM’s inventory of
pharmaceuticals after accumulated dispensing reach full package size amounts. The PBM then
submits a TED record to TRICARE to obtain administrative fees in connection with that
prescription event. DLA bills TRICARE directly for drug replenishment costs.

60. Pursuant to 38 U.S. C. § 8126, pharmaceutical manufacturers are required to enter
into national contracts with the DOD pursuant to which the manufacturer makes available for
procurement certain covered drugs at the Federal Ceiling Price (a price that is calculated as at
least 24% less than the manufacturer’s average price based on all sales to commercial customers
through a wholesaler or distributor). Pursuant to DOD’s contract with its national prime vendor,
the national prime vendor submits an invoice to the DOD for payment of pharmaceuticals
supplied to the PBM in connection with the mail order pharmacy program, charging the DOD the

price set by the contract awarded by the DOD to the drug manufacturer.

21

 
Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 24 of 67

61. Since March 2003, TRICARE has contracted with a pharmacy benefits manager,
Express Scripts, Inc. (“ESI”), to administer TRICARE’s mail order pharmacy programs. ESI has
also administered TRICARE’s retail pharmacy program since June 2004.

62. Similarly, TRICARE’s military treatment facilities purchase medications through
procurement contracts with third party pharmaceutical prime vendors. When a TRICARE
beneficiary submits an outpatient prescription to a military treatment facility’s outpatient

‘pharmacy, the pharmacy purchases the medication from the prime vendor pursuant to an existing
procurement contract, and the drug is then dispensed to the patient.

63. | While some physicians enroll in the TRICARE program as network or- |
participating providers, any physician that is licensed, accredited and meets other standards of
the medical community is authorized to provide services to TRICARE beneficiaries. Physicians
who are enrolled in the TRICARE network must expressly certify their compliance with
TRICARE’s regulations. Yet all providers that provide services to TRICARE beneficiaries,
whether network providers or non-participating providers, are required to comply with
TRICARE’s program requirements, including its anti-abuse provisions. 32 C.P.R.§ 199.9(a)(4).
TRICARE regulations provide that claims submitted in violation of TRICARE’s anti-abuse
provisions can be denied. id. § 199.9(b). Kickback arrangements are included within the
definition of abusive situations that constitute program fraud. Jd. §§ 199.2(b), 199.9(c)(12).

D. Veterans Administration Health Care

64. The Department of Veteran Affairs (“VA”) maintains a system of medical
facilities from which all pharmaceutical supplies, including prescription drugs, are procured
directly by the VA. A VA beneficiary can take a prescription to a VA medical facility, at which

point the VA dispenses the medication to the VA beneficiary from its existing inventory. The

22

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 25 of 67

VA also supports a mail service prescription program as part of its outpatient drug benefit. VA
beneficiaries can submit prescriptions to that mail service program, and the VA then dispenses
pharmaceuticals purchased by the VA directly to VA beneficiaries. The VA medical system
serves approximately four million veterans.

65. | The VA purchases the pharmaceuticals that it dispenses at its medical facilities
and through its mail service prescription program through its Federal Supply Schedule (“FSS”)
program. Pursuant to 38 U.S.C. § 8126, pharmaceutical manufacturers are required to enter into
national contracts with the VA pursuant to which the manufacturer makes available for
procurement certain covered drugs at the Federal Ceiling Price (a price that is calculated as 26%
less than the manufacturer’s average price based on all sales to commercial customers through a
wholesaler or distributor). AVA facility that requires a supply of a particular medication
(including a mail order facility) submits a purchase order to the VA’s pharmaceutical prime
vendor (“PPV”) for distribution of pharmaceuticals. Since May 10, 2004, McKesson
Corporation has served as the VA’s PPV. The PPV fills the order for the facility, and then
submits:an invoice to the VA for payment, charging the VA the price set by the contract awarded
by the VA to the drug manufacturer. The VA makes payment to the PPV. The PPV then seeks a
chargeback from the drug manufacturer for any difference between the contract price paid by the
VA and the PPV’ s acquisition price.

E. All Government Healthcare Programs

66. Pursuant to the PPACA, among other things, all claims to Government
reimbursed programs resulting from a violation of the AKS are also a violation of the FCA.

67. Moreover, the statutes and regulations set forth above concerning Medicare,

Medicaid, TRICARE and Veterans Administration Health Care, when viewed together, state that

23

 
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Case 2:17-ev-02040-JD Document 1 | Filed 05/03/17 | Page 26 of 67
healthcare providers must comply with the AKS in order for claims they cause to be submitted to
these programs to be reimbursed. The claims submitted, here, violated the AKS in that these
claims stemmed from prescriptions written by providers in exchange for bribes knowing that
claims for reimbursement would be submitted to the above programs as a result. As such, and as
more fully discussed below, the prescribing healthcare providers and related suppliers expressly
and impliedly falsely certified compliance with the conditions of payment for, at least, Medicare,
Medicaid, TRICARE and Veterans Administration Health Care.

68. In addition to falsely certifying compliance with the AKS, the healthcare
providers referred to herein also falsely certified compliance with contractual provisions that
were conditions for payment.

69. As detailed herein, TEVA devised and implemented schemes whereby it gave
kickbacks to prescribing providers to recommend Copaxone® and whereby Defendants provided
free, in-kind services to these providers to induce them to prescribe Copaxone®.

70. Knowingly paying kickbacks to induce physicians to prescribe a drug on-label or
off-label (or to influence physician prescriptions) for individuals who seek reimbursement for the
drug from a federal Government health program or causing others to do so, while certifying
compliance with the AKS (or while causing another to so certify), or billing the Government as
if in compliance with these laws, violates the FCA and similar state False Claims Acts.

DEFENDANTS’ FRAUDULENT SCHEMES

71. The following sets forth two illegal schemes that TEVA engaged in to expand the

sales of its number one drug to treat multiple sclerosis (MS), Copaxone®, for the purpose of

increasing TEVA’s bottom line at the Government’s expense. Both schemes employed by

24

 
Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 27 of 67

TEVA involve “in kind” remuneration provided to prescribers in the form of “reimbursement
support” (RS) services.

72. Inthe first scheme, Teva provided free coverage specialists to prescribers who
recommend Copaxone® who in turn handle all of the time-consuming insurance coverage
determinations, verifications and appeals associated with prescribing an expensive drug like
Copaxone®.

73. Inthe second scheme, Teva provided unlimited free MS nursing services to
providers’ MS patients who have been prescribed Copaxone®.

A. The Covered Drug

TA, Copaxone® (glatiramer acetate injection) is TEVA’s largest and first major
branded drug. It was approved by the FDA in 1996. Copaxone® is indicated for the reduction of
the frequency of relapses in relapsing-remitting MS. The average annual cost for a Medicare
and/or Medicaid patient taking Copaxone® is approximately $60,000, which has risen from less
than $10,000 per year when the drug was first launched almost 20 years ago. TEVA has Orange
Book-listed patents relating to Copaxone®, which expired in May 2014, as well as a non-Orange
Book patent that expired in September 2015.

75.  Copaxone® is considered by TEVA to be one of its leading drugs within its
Central Nervous System company portfolio.

76. Since 2008, Copaxone® has been the market leader in its therapeutic class, with
a U.S. market share of approximately 40%. For example, TEVA’s 2016 sales for Copaxone®

were enormous with $3.5 billion in sales just in the U.S. market.”

 

* http://www.marketwatch.com/story/10-k-momenta-pharmaceuticals-inc-2017-02-24

25

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 28 of 67

77. In 2015 alone, Medicare Part D reimbursement for Copaxone® totaled $1.38
billion.? A large part of Copaxone®’s blockbuster success can be directly attributed to the un-.
lawful conduct of Teva detailed herein.

78. In anticipation of patents relating to Copaxone® expiring in 2014 and 2015, -
TEVA pushed aggressively to increase the market share for their top selling drug Copaxone® by
offering services to doctors who prescribed this drug.

79. More specifically, in 2012, TEVA began to assemble a team of in-house nurses to
provide patient care to Copaxone® patients as well as insurance coverage specialists to aid in
determining insurance coverage for this expensive drug.

80. Around the same time frame, TEVA developed a 40 mg/ml Copaxone® dosage .
that only required injections three times a week. TEVA received FDA approval for its 40 mg/ml
dosage regimen in January 2014 and began to convert MS patients from daily doses of
Copaxone® to three times a weekly dosages of Copaxone®, with the help of the in-house TEVA
nurses.

81. These support services provided to healthcare providers in exchange for them
recommending Copaxone®, along with the conversion from once-daily to three-times-weekly .
Copaxone® successfully had a negative impact on the new generic market for this drug, which |
threatened TEVA’s lucrative Copaxone® revenue.

82. By the end of 2016, Copaxone®40 accounted for approximately 81% of the

overall U.S. glatiramer acetate market (20 mg/ml and 40 mg/ml) based on total prescriptions.

 

> ProPublica, https://projects.propublica.org/checkup/drugs/5358, (last visited January 2, 2017)

26

 
Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 29 of 67

83. As set forth below, TEVA’s coverage specialists and nursing services, which they
provided only if prescribers recommended Copaxone®, served as TEVA’s “‘silver bullet” for

maintaining its market share.

 

B. Quid Pro Quo 1: Free Insurance Coverage Specialists as an Inducement to
Recommend Copaxone®*

84. For the last half a decade, TEVA sales representatives’ pitch to providers in this
regard has essentially been as follows:

Dear Doctor: If you prescribe our drug (i.e., “recommend” the
patient to use our drug), we will give you the services and
resources of a full reimbursement support team to manage the
process associated with prescribing the drug. This service will
save you the cost and expenses normally associated with managing
a patient’s prescription and make your practice more profitable.

85. This value proposition was a powerful tool in the hands of TEVA’s sales

 

representatives and was used to influence providers to recommend its drug Copaxone® over its

competitors. TEVA’s sales representatives were able to offer a healthcare provider an “on call”

reimbursement support team to manage the patient’s Copaxone® prescriptions. RS services

became very much a part of the TEVA sales representatives’ collective sales pitch.

86. That is, rather than promoting and marketing its drugs on patient outcomes and

efficacy, TEVA introduced an additional incentive to providers to recommend its drugs to

patients. TEVA knew that this service would present a tangible value to the providers. When

that offer was accepted, the provider received the benefits of the RS service without actually
-having to pay for those services.

1. TEVA’s Coverage Determination Specialists Provide a Tangible Benefit to
Prescribers

 

* The facts contained in Part “B” were uncovered through the investigative diligence of the
Relator, which included information provided by the confidential interviewees.

27
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 30 of 67

87. These services are of great value to “office-based” providers who generally derive
most of their revenue from billing 15, 30, and 45-minute units of service provided to patients
during office visits. The technical term for an office visit is “evaluation- and- management
services” or “E/M” for short.

88. In 2012, the most commonly billed Medicare physician service was the $70
“doctor office visit” for a 15-minute consultation, closely followed by the $100 “doctor office
visit” for a 30-minute consultation. Medicare pays over $11 billion each year for E/M services
alone. Medicaid and private insurers also pay many more billions each year.

89. When an office-based provider receives payment for an E/M service given to a
patient, part of the payment amount is intended to compensate the provider not only for the
actual medical care given to a patient, but also as compensation for other administrative tasks
associated with that patient’s care. For example, if a provider receives a $70 payment for an
E/M service provided during a routine office visit, a portion of that $70 is intended to
compensate the provider for the administrative tasks inherent in managing that patient’s care.

90. Part of the E/M fee is to compensate the provider for tasks associated with
prescription drugs. This compensation flows from the fact that whenever a patient is prescribed
a drug following an E/M visit, the provider must attend to the inherent administrative functions
associated with that drug prescription, such as: conducting a patient’s prescription drug insurance
“benefit verification”; determining if the drug is on the formulary lists and tiers; seeking
coverage determination; determining co-pays and deductibles, conducting telephone calls to

patients; responding to patient complaints; returning messages and faxes; handling prescription

28

 
Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 31 of 67

refill requests; and, where necessary, obtaining “prior authorizations” in addition to managing
the necessary paper trail.®

91.  Office-based providers are not permitted to directly charge patients a fee for
writing prescriptions, verifying a patient’s drug prescription benefit and/or obtaining any prior
authorizations, because the payer-physician contract prohibits charging such fees. Instead,
providers get paid for these services indirectly through the E/M unit charge.

92. Since a provider’s E/M reimbursement for each office visit is fixed per unit,
providers are continuously seeking ways to combat overhead costs and expenses in order to earn
more profit from each E/M unit billed.

93. | Most importantly, the RS services TEVA was providing resulted in greater profit
from each provider’s E/M unit charge. It was in this fashion, giving a provider free RS services,
that TEVA “eliminate[d] an expense that [the provider] would have otherwise incurred’” if the
provider would have had to perform the tasks associated with the Copaxone® drug prescription.
Such “in kind” remuneration given to induce a recommendation for a TEVA drug is an unlawful

kickback under the AKS.

 

> A study of 12 primary care practices published in the Journal of the American Board of Family
Medicine put the mean annual projected cost per full-time equivalent physician for prior
authorization activities between $2,161 and $3,430. The study’s authors concluded that
“preauthorization is a measurable burden on physician and staff time.” See, The Impact of Prior
Authorization Requirements on Primary Care Physicians’ Offices: Report of Two Parallel
Network Studies Christopher P. Morley, PhD, David J. Badolato, MD, JohnHickner, MD, c, and
John W. Epling, MD, Ed J Am Board Fam Med January-February 2013 vol. 26 no. 1 93-95

° In 2006, primary care providers spent a mean of 1.1 hours per week on authorizations, primary
care nursing staffs spent 13.1 hours, and primary care clerical staff spent 5.6 hours, according to
a 2009 study published in Health Affairs. The study estimated that the overall cost to the
healthcare system of all practice interactions with health plans, including authorizations, was
between $23 billion and $31 billion annually. Health Aff (Millwood). 2009 Jul-
Aug;28(4):w533-43. doi: 10.1377/hlthaff.28.4.w533. Epub 2009 May 14.

™ Compliance Program Guidance for Pharmaceutical Manufacturers, 68 Fed. Reg. 23,731 (May
5, 2003) (“CPG”) Section II (2) suspect remuneration as it “eliminate[d] an expense that the
physician would have otherwise incurred (i.e., have independent value to the physician)”.

29

 
Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 32 of 67

94. Teva referred to this remuneration as “coverage determinations” and/or
“reimbursement support services” through a branded term “Shared Solutions”® and it was
intended to induce providers to choose Teva’s Copaxone® over a competitor’s drugs.

95. Teva hired and trained dozens of skilled workers to provide free coverage
determination and reimbursement support for Copaxone® prescriptions. The services included
activities like patient insurance benefit verification services, patient prior authorization services,
and coverage appeals.

96. In exchange for prescribing Copaxone®, Teva would assume and underwrite the
providers’ administrative responsibilities and costs associated with starting a patient on
Copaxone®.

97. The more a provider prescribed Copaxone® as a percentage of its overall
prescription volume, the greater the provider’s savings, as time and money that would ordinarily
be expended by the provider handling a patient’s drug coverage and reimbursement issues would
now be undertaken by Teva.

98. | TEVA’s RS personnel become an extension of the prescribing provider’s team.
The services the RS personnel provide directly help increase initial and continuing (i.e., refills)
drugs sales.

99. Ofcourse, giving a provider an “extension of their team” is the same as giving a
provider a dedicated staff member to exclusively work on administrative tasks associated with
TEVA’s Copaxone® drug. Here, TEVA gave providers an a /a carte single point of contact
person to manage the Copaxone® prescription process — which greatly reduced and/or

eliminated the providers’ overhead and expenses that would otherwise have been associated with

 

8 Shared Solutions, https://www.copaxone.com/shared-solutions, (last visited August 2, 2016)

30

 
Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 33 of 67

any Copaxone® prescription.

2. The Value of the Coverage Determination Specialists to the Prescriber

100. TEVA’s Copaxone® drug is a very expensive drug that can cost an individual
between $50,000 and $60,000 per year.

101. Prior to prescribing this form of drug therapy, “benefit verification” must be
performed to determine the amount of the patients’ prescription drug coverage available to pay
for the drug. This process often requires multiple calls and can take up to and sometimes over 45
minutes i ust to determine the nature and extent of the patient’s coverage for Copaxone®.

102. Teva sales representatives and nurses offer, as part of their sales pitch, to perform
this service for the provider’s staff if the provider recommends Teva’s Copaxone® over its
competitors’ drugs.

103. TEVA has developed an integrated system and process run by TEVA employees
who have training, education and experience in determining patients’ prescription drug benefits,
who are known as “verification specialists” (specialists).

104. First, the specialist verifies the identity of the patient’s primary and secondary
insurance benefits (i.e., private insurance, Medicare, Tricare, and/or Medicaid).

105. Next, the specialist directly contacts these carriers and verifies the nature and
extent of the patient’s drug benefit coverage. In cases of Medicare and Medicaid, this is called a
“coverage determination.”

106. For Medicare patients, a coverage determination is particularly cumbersome and
time consuming given the complexity of many Part D plans that have four coverage phases:
Deductible phase — where a patient pays 100% for drug costs until the deductible amount is

reached; Initial Coverage Limit phase — where a patient would pay a percentage of the cost

31

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 34 of 67

depending on the carrier and the drug’s formulary position; Coverage Gap, or “donut hole” phase
— where patients pay a certain percentage of the drug cost - for example, in 2015, patients would
pay 45% of the cost for brand-name drugs and 65% of the cost for generic drugs; and,
Catastrophic Coverage phase which kicks in once a patient is out of the coverage gap - so in
2015 a patient paid either 5% of the covered drug cost or $2.65 for generics and $6.60 for brand
name drugs.

107. Teva also offers to perform “prior authorizations” for providers in order to induce
the providers to recommend Copaxone® over competitors’ drugs.

108. Part D carriers use the prior authorization process as a means to contain costs
associated with expensive medications, such as Teva’s Copaxone®, That is, if a provider wants
to recommend expensive drugs like Copaxone®, the Part D carriers will require that providers
take the time and effort to “make the case” for prescribing that drug over a cheaper drug.

109. Prior authorizations are often only valid for a limited time period, such as for one
year, and sometimes for only one month. After that, the provider’s staff must start the prior
authorization process over again. This can become a particularly time consuming process for a
drug like Copaxone® that patients stay on for long periods of time.

110. TEVA also offers to handle “coverage appeals” when a drug plan either denies
coverage or denies the prior authorization request. Teva handles the provider’s appeal to the drug
plan with the goal of assuming the appeal legwork to reverse the drug plan’s denial and to obtain
coverage so the patient can either begin or remain on Copaxone®.

111. Benefit verifications, coverage determinations, prior authorizations and coverage
appeals are time consuming and require experienced personnel.

112. Approximately 90% of providers who prescribed Copaxone® utilized the

32

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 35 of 67

reimbursement support services.

_ 113. Generally, benefit verifications take anywhere from 15 to 45 minutes, while prior
authorizations can take anywhere from 1 to 3 weeks. It would cost a provider about $30,000 to
employ someone who could perform the reimbursement services that are provided by Teva for
free.

114. The payer-provider contracts with Medicare, Medicaid, and private insurances
prohibit the provider from charging a patient a fee for these administrative services.

115. TEVA offers providers a means to “outsource” these functions without any direct
or indirect cost to the provider — but only if the provider chooses to recommend Copaxone® over
competitor drugs.

116. The TEVARS services resulted in a great value to providers because it eliminated
the time and expense of determining and verifying patients’ insurance benefits, determining
whether a prescribed drug was on formulary and determining co-pays and deductibles. TEVA’S
RS services also saved providers’ staff time with phone calls to patients as now TEVA would
manage each step and communicate with the patient directly.

117. TEVA’s sales representatives used these reimbursement support services as
selling points to induce potential prescribers to recommend Copaxone® over its competitors.

118. By giving a provider RS services, TEVA gave a tangible “in kind” benefit that
greatly reduced and in some instances eliminated a provider’s administrative costs related to
prescribing TEVA’s Copaxone® drug and thus induced providers to choose TEVA’s

Copaxone® drug over a competitor’s drugs.

33

 
Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 36 of 67

Cc. Quid Pro Quo 2: Free Nursing Services as an Inducement to Recommend
Copaxone®”

119. Inthis matter, TEVA employed a force of Clinical MS Nurses (“TEVA Nurses”)
to work with TEVA’s sales force. TEVA Nurses are all health care professionals who are
recognized as specialty clinicians with particular training, education and experience in MS
education and care. Not surprisingly, nurses with this training are in particular demand for
providers who care for MS patients. Many nurses with MS training are employed by primary
care and nuerology practices to work with MS patients. As clinicians with significant training,
education and experience, these nurses can command significant compensation in the healthcare
workforce. In this matter, TEVA employed its own MS nurses to unlawfully promote its drugs.

120. TEVA sought to incentivize MS care providers to choose TEVA’s Copaxone®
drugs over competitors’ drugs by providing free nursing support services. TEVA identified the
unique and particular needs and challenges that MS care providers faced in managing their own
practices and patients and began selling these providers “solutions” to those needs and
challenges.

121. Specifically, starting in 2012, TEVA began offering and then providing these
providers the time, service and expertise of TEVA employed MS nurses both to help manage
providers’ MS patients and to provide MS training to the providers’ staff. Of course, in typical
quid pro quo fashion in order to be given these services, those providers would have to “support”
(i.e., write prescriptions for) TEVA’s MS drug, Copaxone®.

122. TEVA also realized that its potential prescribers (i.e., PCPs and neurologists) were

frequently refusing to meet with its sales representatives about TEVA’s MS drug Copaxone® so

 

” The facts contained in Part “C” were uncovered through the investigative diligence of the
Relator, which included information provided by the confidential interviewees.

34

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 37 of 67

TEVA used its TEVA Nurses to get information about their Copaxone® drug and the services
the nurses provided to potential prescribers.
123. TEVA nurses were given lists of providers that contained IMS prescribing data. |
The providers were grouped into three tiers depending on their prescribing habits and TEVA
nurses would call these providers directly to tell them about the RS services TEVA offered with
the drug and also to discuss the benefits of Copaxone®. TEVA nurses were able to meet with
providers who generally were not willing to meet with sales representatives.
124. TEVA incentivized its MS nurses to increase the sales of Copaxone® by tying
their compensation directly to Copaxone® sales. TEVA Nurses were compensated with a base
salary and a bonus structure based on performance metrics and drug sales. They had a two-part
bonus structure determined by 1) individual meeting metrics evaluated on a quarterly basis and
2) total nationwide Copaxone® sales. The individual metrics requirements for each nurse were
15 patient programs per year, a certain number of adherence visits with patients, and a minimum
of 3 face-to-face meetings with providers per week. TEVA Nurses could make anywhere
between $58,000 to $170,000 per year.
125. The relator confirmed that MS nurses were viewed by providers as more
credentialed and thus more credible than TEVA’s sales representatives. TEVA paid tens of
millions of dollars to employ its own MS nursing force. Each TEVA nurse underwent a rigorous
TEVA training program and learned sales techniques — similar to the program each TEVA sales
representative undergoes.

1. Free Nursing Services were Used to Induce Providers to Recommend
Copaxone® Over its Competitors

126. MS patients are complex, and, often require extra office time and resources to

manage their disease. Providers need to expend time and resources to properly train their staff

35
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 38 of 67

how to manage MS patients.

127. TEVA’s nursing support services, which were administered through a network of
70 TEVA employed in-house nurses, ranged from helping providers increase practice efficiency;
staff training on healthcare; eliminating the administrative expense of teaching patients; patient
management; and, being “on call” to answer patient’s medical questions.

128. These nursing services were provided in typical guid pro quo fashion, in order to
be given these support services, providers would in turn have to recommend (i.e., write
prescriptions) Teva’s Copaxone®.

129. All TEVA nurses went through specific training that included how to promote and
sell their services to prospective providers who treat MS patients. This training included role
playing where nurses would learn how to discuss their role and the services they offered if the
provider prescribed Copaxone®.

130. TEVA nurses offered a solution to the time consuming patient management that
comes along with patients taking injectable drug therapy by alleviating the need for staffing and
training required to manage and train patients taking Copaxone®.

131. TEVA nurses offered their services to providers by pitching themselves as an
extension of the providers healthcare team who was able to train the providers’ staff and take on
the extra patient management and calls from patients prescribed Copaxone®.

132. Injectable drugs, such as Copaxone®, can overwhelm providers’ offices with calls
and follow-up visits concerning the proper way to inject the drug and reactions to the drug such
as skin reactions and muscle atrophy.

133. TEVA nurses were specifically employed to overcome the issues associated with

Copaxone® that discouraged providers from prescribing it, such as the fact that it is an injectable

36

 

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 39 of 67

drug requiring patients to be trained on how to self administer it.

134. Both TEVA sales representatives and TEVA Nurses induced providers to
recommend Copaxone® by offering these free nurse services to any patient that was prescribed
Copaxone®.

135. TEVA Nurses would be notified of new patients and track patient adherence
through its Shared Solutions program. This infrastructure was provided by TEVA and allowed
the prescriber to notify and employ a TEVA Nurse when a new prescription for Copaxone® was
recommended.

136. Once trained and deployed, these TEVA Nurses began to provide free education
services to any provider who would prescribe TEVA’s Copaxone® drug. The TEVA MS Nurses
were successful in saving prescribers’ time, money and resources and, in many instances,
resulted in receiving higher reimbursement rates associated with certain MS care metrics. Not
surprisingly, TEVA also saw its drugs sales increase each time a TEVA Nurse was deployed.

2. The Value of the TEVA Nursing Services

137. TEVA nurses directly interacted with patients prescribed Copaxone®, which
saved providers time and money.

138. When a patient starts Copaxone® a form is filled out by the provider and entered
into Shared Solutions, which is part of TEVA. This process automatically enrolls the patient in
- the Shared Solutions program and TEVA is notified about the prescription. Once the patient
information is processed the patient is contacted by someone from TEVA who tells him/her about
the program and what to expect. A TEVA nurse is then contacted by Shared Solutions and
provided with the patient information so they can contact the patient directly.

139. The patient management support provided by TEVA nurses consisted of one-on-

37

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 40 of 67

one and/or group sessions!” between Teva nurses and the providers’ patients where the patients
were taught general MS disease state information, how to administer Copaxone®, as well as side
effect management and injection site rotation. Teva Nurses would go directly to patients’ homes
to provide these nursing services.

140. The services proved by the TEVA nurses had an independent direct value to
providers, because otherwise, providers would either have to incur the administrative time and
expense to perform the services themselves or hire an extra nurse to perform the service."

141. TEVA nurses managed patients through education sessions usually in the
patient’s home, thereby freeing office staff to work in other areas.

142. Patients and providers were given their assigned TEVA Nurse’s telephone
numbers in order to relieve the provider’s office from handling patient calls, or for providers to
request nurse services directly.

143. The patient education service provided by TEVA Nurses included in-person one-
on-one hour sessions for at least a full year. They would cover important topics such as how to
administer the injection, side effect management and injection site rotation. Many times TEVA
Nurses would manage and treat patient side effects caused by the Copaxone® inj ection.

144. These one-on-one sessions save providers time and money by relieving the office
of the burden of patient education, answering patient calls and questions, and general patient

management, including the treatment of side effects.

 

10 1_1 explained that at some point the administration of Copaxone®’s changed from once per
day to three times per week. After the switch, patients were re-trained in groups as long as all
patients consented to the group training.

‘l The annual salary for nurses ranges from $50,000 to $100,000. Further, a nurse can charge
providers on a per diem or contract basis at an average hourly wage of $40.00 per hour.

38

 

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 41 of 67

145. TEVA Nurses were able to provide 2-3 hours of patient engagement instead of the
typical 20 minutes during an office visit. They also scheduled follow-up visits with the patients
and provided patients with their cell phone numbers for them to call with any questions. TEVA
Nurses regularly checked in with Copaxone® patients to avoid patient complacency.

146. TEVA also had a team of Telehealth nurses who followed-up with patients over
the phone and provided MS education and would follow up with patients regarding their
medication refills, if none were ordered, in an effort to promote adherence, which, by no
coincidence, benefits Teva.

147. Telehealth nurses performed telephonic patient trainings, which lasted
approximately 40 minutes, and also managed patients over the phone. They were in essence on-
call nurses employed by TEVA to help keep patients on Copaxone®, which they are encouraged
to stay on indefinitely to prevent relapse.

148. The Telehealth nurses served to supplement the in-person nursing care provided
by TEVA and they were supported by a call center with over 100 people employed by TEVA.

149. Providers were able to outsource nursing services to TEVA employed nurses for
all patients who were prescribed Copaxone®.

150. Many providers chose to prescribe Copaxone® over its competitors specifically
because of the nursing services that were provided along with the drug.

151. When providers received the benefits of the nurses’ service, TEVA “eliminate[d]
an expense that [the provider] would have otherwise incurred””* if they employed the nurse or

provided the services themselves. 8

 

2 CPG Section IIB(2)(b)(B)(1)(b) “...services provided by the manufacturer eliminate an
expense that the physician would have otherwise incurred (i.e., have independent value to the

39

 

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 42 of 67

152. TEVA unlawfully furnished to providers, through their own in-house nurse force,
the services of these nurses to work with the providers’ MS patients. TEVA intended that these
nurse services act as an inducement to providers in return for recommending TEVA’s
Copaxone® to patients.

D. Both of TEVA’s Quid Pro Quo Schemes Resulted in the Filing of False Claims

153. In 2013, there were 10,808 providers who wrote prescriptions for Copaxone® that
were filled at pharmacies resulting in 224,167 Medicare Part D Claims that year. Medicare paid
an aggregate cost of $1,120,491,044.47 for these Part D claims.\4 Many of these claims were
tainted by the RS services and the nursing services TEVA offered in exchange for prescribers
recommending Copaxone®.

154. Similarly, in the year 2014, 10,747 providers wrote prescriptions for Copaxone®
that were filled at pharmacies resulting in 226,035 Medicare Part D Claims that year. Medicare
paid an aggregate cost of $1,221,012,525.65 for these Part D claims.’> Many of these claims
were tainted by the RS services and the nursing services TEVA offered in exchange for

prescribers recommending Copaxone®.

 

physician)[...] arrangement may be problematic if the arrangement is tied directly or indirectly
to the generation of federal health care program business for the manufacturer.”

'3 Not only do TEVA nurse services eliminate an expense to the provider, but it adds cost to the
drug. When government insurance plans such as Mediare and Medicaid pay for Copaxone®,
included in the cost is the cost of a kickback, the TEVA nurse force.

'4 This information was obtained from the publically available Medicare Part D Prescriber
National Summary Report, Calendar Year 2013 accessed at: https://www.cms.gov/Research-
Statistics-Data-and-Systems/Statistics-Trends-and-Reports/Medicare-Provider-Charge-
Data/index.html

'S This information was obtained from the publically available Medicare Part D Prescriber
National Summary Report, Calendar Year 2014 accessed at: https://www.cms.gov/Research-
Statistics-Data-and-Systems/Statistics-Trends-and-Reports/Medicare-Provider-Charge-
Data/index.html

40
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 43 of 67

DAMAGES

155. As TEVA profited from the illegal schemes described in this Complaint,
Medicare and Medicaid were made to bear the costs. From 2012 to the present, Defendants’
actions knowingly have caused pharmacies, Part D sponsors, fiscal intermediaries and others to
submit billions of dollars in claims to Medicare and Medicaid for TEVA’s Copaxone® drug
provided to beneficiaries as a result of Defendants’ illegal marketing and quid pro quo
arrangements. Those false claims have caused Medicare and Medicaid to disburse hundreds of
millions or even billions of dollars in reimbursements that should not have been paid.

SUMMARY

156. Asis detailed above, the defendants are liable to the federal government for
damages based on the payment of all claims submitted to federal health care programs for
prescriptions written for Copaxone® beginning from the time they began paying remuneration
up through the present because the claims were the result of recommendations induced, in whole
or in part, by remuneration.

157. Compliance with the AKS is a precondition of payment by virtue of federal and
state statutes, regulations, provider agreements, and contracts.

158. The certifications and attestations signed by physicians, pharmacies, PBMs and
Part D sponsors certified compliance with the AKS. Kickbacks that were paid to and received by
physicians and other health care professionals to recommend Copaxone® as alleged herein
rendered those certifications and attestations false. Those false statements were material to the
false claims submitted for Copaxone®

159. Claims for TEVA’s Copaxone® arising from the kickbacks expressly and

impliedly misrepresent compliance with a material condition of payment, to wit, compliance

41

 

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 44 of 67

with the AKS. Claims that include items or services resulting from a violation of the AKS
constitute false or fraudulent claims under the AKS. 42 U.S.C. § 1320a-7b(b).

160. By providing remuneration to physicians and other health care professionals,
TEVA intended to induce those physicians and other health care professionals, to recommend
and/or prescribe their drug, Copaxone®.

161. It was reasonably foreseeable that some of those prescriptions would be for
federal health care program beneficiaries and that claims for those prescriptions would be
submitted to federal health care programs. Thousands of such prescriptions or claims based on
such prescriptions were, in fact, submitted to and paid for by federal health care program. -

COUNTS

FIRST COUNT
FCA 31 U.S.C. § 3729(a)(1)(A), (a)(1)(B) and (a)(1)(C)

162. Relators re-allege and incorporate by reference the prior paragraphs as though
fully set forth herein.

163. Relators bring these claims on behalf of the United States, for treble damages and
penalties under the FCA, 31 U.S.C. §§ 3729-3733, against Defendants, for knowingly causing to
be presented false claims to Government Healthcare Programs. From on or about 2012 through
the present, in this Judicial District and elsewhere throughout the United States, Defendants
knowingly and willfully have violated the FCA by causing false claims to be submitted.

164. Asaresult of acts described above, Defendants knowingly presented, or caused to
be presented, false and fraudulent claims for services that were not eligible for reimbursement
for payment or approval to the United States in violation of 31 U.S.C. § 3729(a)(1)(A).

165. Further, as a result of the acts described above, Defendants knowingly made, used

or caused to be made or used, false records or false statements material to the foregoing false or

42

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 45 of 67

fraudulent claims to get these false or fraudulent claims paid and approved by the United States,
in violation of 31 U.S.C. §3729(a)(1)(B).

166. Further, by virtue of the acts described above, Defendants knowingly conspired
with each other: to present or cause to be presented to the United States false or fraudulent
claims for payment or approval; to make, use, or cause to be made or used, a false record or
statement material to a false or fraudulent claim; and, to make, use, or cause to be made or used,
a false record or statement material to an obligation to pay or transmit money or property to the
Government; or to conceal or improperly avoid or decrease an obligation to pay or transmit
money or property to the United States. Such conduct violates 31 U.S.C. § 3729(a)(1)(C).

167. Finally, by virtue of the acts described above, Defendants knowingly conspired
with each other: to present or cause to be presented to the United States false or fraudulent
claims for payment or approval; to make, use, or cause to be made or used, a false record or
statement material to a false or fraudulent claim in violation of 31 U.S.C. § 3729(a)(1)(C).

168. To the extent any of the conduct alleged herein occurred on or before May 20,
2009, Relator re-alleges that Defendants knowingly violated 31 U.S.C. § 3729(a)(1); 31 U.S.C.
§3729(a)(2); and 31 U.S.C. § 3729(a)(3) prior to amendment, by engaging in the conduct
complained of herein.

169. Asadirect and proximate result of the Defendants’ violation of FCA 31 U.S.C. §
3729(a)(1)(A), (a)(1)(B) and/or (a)(1)(C), the United States has sustained damages in a
substantial amount to be determined at trial, and is entitled to treble damages plus a civil penalty
for each violation.

170. Relator respectfully requests this Court enter judgment against the Defendants as

follows: (1) that the United States be awarded damages in the amount of the United States’

43

 
Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 46 of 67

damages, trebled, as required by law; (2) such civil penalties as are required by law; (3)
attorneys’ fees, costs, and expenses that Relator necessarily incurred in bringing and pressing
this case forward; (4) that Relator be awarded the maximum amount allowed to her pursuant to
the federal False Claims Act; and (5) that this Court order such other and further relief as it
deems proper
SECOND COUNT
California False Claims Act
Cal. Gov’t Code §§ 12650 — 12655

171. This is a claim for treble damages and civil penalties under the California False
Claims Act, Cal. Gov’t Code §§ 12650 — 12655. Relators re-allege and incorporate the
allegations in the preceding paragraphs as if set forth fully herein.

172. Defendants violated the California False Claims Act by engaging in the fraudulent
and illegal practices described herein, including knowingly causing false claims to be presented
to the State of California as described herein.

173. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of California.

174. The State of California, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of California would not otherwise have paid.

175. By reason of these payments, the State of California has been damaged, and
continues to be damaged, in a substantial amount.

THIRD COUNT

Colorado Medicaid False Claims Act
Col. Rev. Stat. §§ 25.5-4-303.5 — 25.5-4-309

44

 
Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 47 of 67

176. This is a claim for treble damages and civil penalties under the Colorado
Medicaid False Claims Act, Colo. Rev. Stat. §§ 25.5-4-303.5 — 25.5-4-309. Relators re-allege
and incorporate the allegations in the preceding paragraphs as if set forth fully herein.

177. . Defendants violated.the Colorado Medicaid False Claims Act by engaging in the
fraudulent and illegal practices described herein, including knowingly causing false claims to be
presented to the State of Colorado, as described herein.

178. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,

‘or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by. the State of Colorado. -

179. The State of Colorado, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Colorado would not otherwise have paid.

180. By reason of these payments, the State of Colorado has been damaged, and
continues to be damaged, in a substantial amount.

FOURTH COUNT
Connecticut False Claims Act for Medical Assistance Programs
Conn. Gen. Stat. Ann. §§ 17b-301 et seq.

181. This is aclaim for treble damages and civil penalties under the Connecticut False

Claims Act for Medical Assistance Programs, Conn. Gen. Stat. Ann. §§ 17b-301 ef seg. Relators
. re-allege and incorporate the allegations in the preceding paragraphs as if set forth fully herein.
182. Defendants violated the Connecticut False Claims Act for Medical Assistance

Programs by engaging in the fraudulent and illegal practices described herein, including

knowingly causing false claims to be presented to the State of Connecticut, as described herein.

45

 
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Case 2:17-cv-02040-JD Document 1

Filed 05/03/17 Page 48 of 67

183. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Connecticut.

184. The State of Connecticut, unaware of the false or fraudulent nature of these
claims, paid such claims which the State of Connecticut would not otherwise have paid.

185. By reason of these payments, the State of Connecticut has been damaged, and
continues to be damaged, in a substantial amount.

FIFTH COUNT
Delaware False Claims and Reporting Act
6 Del C §§ 1201(a)(1) and (2)

186. This is aclaim for treble damages and civil penalties under the Delaware False
Claims and Reporting Act, 6 Del C §§ 1201(a)(1) and (2). Relators re-allege and incorporate the
allegations in the preceding paragraphs as if set forth fully herein.

187. Defendants violated the Delaware False Claims and Reporting Act by engaging in
the fraudulent and illegal practices described herein, including knowingly causing false claims to
be presented to the State of Delaware, as described herein.

188. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Delaware.

189. The State of Delaware, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Delaware would not otherwise have paid.

190. By reason of these payments, the State of Delaware has been damaged, and

continues to be damaged, in a substantial amount.

SIXTH COUNT
District of Columbia Procurement Reform Amendment Act

46

 
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Case 2:17-cv-02040-JD Documenti Filed

05/03/17 Page 49 of 67
D.C. Code Ann. §§ 2-308.13 — 308.1526'°

191. This isaclaim for treble damages and civil penalties under District of Columbia
Procurement Reform Amendment Act, D.C. Code Ann. §§ 2-308.13 — 308.1526. Relators re-
allege and incorporate the allegations in the preceding paragraphs as if set forth fully herein.

192. Defendants violated the District of Columbia Procurement Reform Amendment
Act by engaging in the fraudulent and illegal practices described herein, including knowingly
causing false claims to be presented to the District of Columbia, as described herein.

193. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the District of Columbia.

194. The District of Columbia, unaware of the false or fraudulent nature of these
claims, paid such claims which the District of Columbia would not otherwise have paid.

195. By reason of these payments, the District of Columbia has been damaged, and
continues to be damaged, in a substantial amount.

SEVENTH COUNT
Florida False Claims Act
Fla. Stat. §§ 68.081 — 68.090

196. This is aclaim for treble damages and civil penalties under the Florida False
Claims Act, Fla. Stat. §§ 68.081 — 68.090. Relators re-allege and incorporate the allegations in
the preceding paragraphs as if set forth fully herein.

197. Defendants violated the Florida False Claims Act by engaging in the fraudulent
and illegal practices described herein, including knowingly causing false claims to be presented

to the State of Florida as described herein.

 

'6 Repealed effective April 8, 2011, and re—-codified as D.C. Code Ann. § 2-381.01
et seg. without gu/ tam provisions.

47

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 50 of 67

198. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Florida.

199. The State of Florida, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Florida would not otherwise have paid.

200. By reason of these payments, the State of Florida has been damaged, and
continues to be damaged, in a substantial amount.

EIGHTH COUNT
Georgia State False Medicaid Claims Act
Ga. Code §§ 49-4-168 et seq.

201. This is a claim for treble damages and civil penalties under Georgia State False
Medicaid Claims Act, Ga. Code §§ 49-4-168 et seg. Relators re-allege and incorporate the
allegations in the preceding paragraphs as if set forth fully herein.

202. Defendant violated the Georgia State False Medicaid Claims Act by engaging in
the fraudulent and illegal practices described herein, including knowingly causing false claims to
be presented to the State of Georgia, as described herein.

203. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Georgia.

204. The State of Georgia, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Georgia would not otherwise have paid.

205. By reason of these payments, the State of Georgia has been damaged, and

continues to be damaged, in a substantial amount.

NINTH COUNT
Hawaii False Claims Acts

48

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 51 of 67

Haw. Rev. Stat. §§ 661-21 — 661-29

206. This is aclaim for treble damages and civil penalties under the Hawaii False
Claims Acts, Haw. Rev. Stat. §§ 661-21 — 661-29. Relators re-allege and incorporate the
allegations in the preceding paragraphs as if set forth fully herein.

207. Defendants violated the Hawaii False Claims Acts by engaging in the fraudulent
and illegal practices described herein, including knowingly causing false claims to be presented
to the State of Hawaii, as described herein.

208. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Hawaii.

209. The State of Hawaii, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Hawaii would not otherwise have paid.

210. By reason of these payments, the State of Hawaii has been damaged, and
continues to be damaged, in a substantial amount.

TENTH COUNT
Illinois False Claims Act
740 Ill. Comp. Stat. 175/1 et seq.

211. This is aclaim for treble damages and civil penalties under the Illinois False
Claims Act, 740 Ill. Comp. Stat. 175/1 et seq. Relators re-allege and incorporate the allegations
in the preceding paragraphs as if set forth fully herein.

212. Defendants violated the Illinois False Claims Act by engaging in the fraudulent
and illegal practices described herein, including knowingly causing false claims to be presented.

to the State of Illinois, as described herein.

49
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 52 of 67

213. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Illinois.

214. The State of Illinois, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Illinois would not otherwise have paid.

215. By reason of these payments, the State of Illinois has been damaged, and
continues to be damaged, in a substantial amount.

ELEVENTH COUNT
Indiana False Claims and Whistleblowers Protection Act
Ind. Code Ann. §§ 5-11-5.5-1 — 5-11-5.5-18

216. This is aclaim for treble damages and civil penalties under the Indiana False
Claims and Whistleblowers Protection Act, Ind. Code Ann. §§ 5-11-5.5-1 — 5-11-5.5-18.
Relators re-allege and incorporate the allegations in the preceding paragraphs as if set forth fully
herein.

217. Defendants violated the Indiana False Claims and Whistleblowers Protection Act
by engaging in the fraudulent and illegal practices described herein, including knowingly causing
false claims to be presented to the State of Indiana, as described herein.

218. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Indiana.

219. The State of Indiana, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Indiana would not otherwise have paid.

220. By reason of these payments, the State of Indiana has been damaged, and

continues to be damaged, in a substantial amount.

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Page 53 of 67

Case 2:17-cv-02040-JD Documenti1 Filed 05/03/17

TWELFTH COUNT
Louisiana Medical Assistance Programs Integrity Law
La. Rev. Stat. §§ 46:437 et seq.

221. This is aclaim for treble damages and civil penalties under the Louisiana Medical
Assistance Programs Integrity Law, La. Rev. Stat. §§ 46:437 et seq. Relators re-allege and
incorporate the allegations in the preceding paragraphs as if set forth fully herein.

222. Defendants violated the Louisiana Medical Assistance Programs Integrity Law by
engaging in the fraudulent and illegal practices described herein, including knowingly causing
false claims to be presented to the State of Louisiana, as described herein.

223. As aresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Louisiana.

224. The State of Louisiana, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Louisiana would not otherwise have paid.

225. By reason of these payments, the State of Louisiana has been damaged, and
continues to be damaged, in a substantial amount.

THIRTEENTH COUNT
Maryland False Health Claims Act of 2010
Md. Code Ann., Health-General §§ 2-601 et seq.

226. This is a claim for treble damages and civil penalties under the Maryland False
Health Claims Act of 2010, Md. Code Ann., Health-General §§ 2-601 et seg. Relators re-allege
and incorporate the allegations in the preceding paragraphs as if set forth fully herein.

227. Defendants violated the Maryland False Health Claims Act of 2010 by engaging

in the fraudulent and illegal practices described herein, including knowingly causing false claims

to be presented to the State of Maryland, as described herein.

51

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 54 of 67

228. As aresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Maryland.

229. The State of Maryland, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Maryland would not otherwise have paid.

230. . By reason of these payments, the State of Maryland has been damaged, and
continues to be damaged, in a substantial amount.

FOURTEENTH COUNT
Massachusetts False Claims Law
Mass. Gen. Laws Ann. Ch. 12 §§ 5A et seq.

231. This is aclaim for treble damages and civil penalties under the Massachusetts
False Claims Law, Mass. Gen. Laws Ann. Ch. 12 §§ 5A et seq. Relators re-allege and
incorporate the allegations in the preceding paragraphs as if set forth fully herein.

232. Defendants violated the Massachusetts False Claims Law by engaging in the
fraudulent and illegal practices described herein, including knowingly causing false claims to be
presented to the Commonwealth of Massachusetts, as described herein.

233. As aresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the Commonwealth of Massachusetts.

234. The Commonwealth of Massachusetts, unaware of the false or fraudulent nature
of these claims, paid such claims which the Commonwealth of Massachusetts would not
otherwise have paid.

235. By reason of these payments, the Commonwealth of Massachusetts has been

damaged, and continues to be damaged, in a substantial amount.

52

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 55 of 67

FIFTEENTH COUNT
Michigan Medicaid False Claims Act
Mich. Comp. Laws §§ 400.601 et seq.

236. This is aclaim for treble damages and civil penalties under the Michigan
Medicaid False Claims Act, Mich. Comp. Laws §§ 400.601 et seq. Relators re-allege and
incorporate the allegations in the preceding paragraphs as if set forth fully herein.

237. Defendants violated the Michigan Medicaid False Claims Act by engaging in the
fraudulent and illegal practices described herein, including knowingly causing false claims to be
presented to the State of Michigan, as described herein.

238. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Michigan.

239. The State of Michigan, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Michigan would not otherwise have paid.

240. By reason of these payments, the State of Michigan has been damaged, and
continues to be damaged, in a substantial amount.

SIXTEENTH COUNT
Minnesota False Claims Act
Minn. Stat. §§ 15C.01 ef seq.

241. This is aclaim for treble damages and civil penalties under the Minnesota False
Claims Act, Minn. Stat. §§ 15C.01 et seq. Relators re-allege and incorporate the allegations in
the preceding paragraphs as if set forth fully herein.

242. Defendants violated the Minnesota False Claims Act by engaging in the

fraudulent and illegal practices described herein, including knowingly causing false claims to be

presented to the State of Minnesota, as described herein.

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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 56 of 67

243.  Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Minnesota.

244. The State of Minnesota, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Minnesota would not otherwise have paid.

245. By reason of these payments, the State of Minnesota has been damaged, and
continues to be damaged, in a substantial amount.

SEVENTEENTH COUNT
Montana False Claims Act
Mont. Code Ann. §§ 17-8-401 — 17-8-412

246. This is aclaim for treble damages and civil penalties under Montana False Claims
Act, Mont. Code Ann. §§ 17-8-401 — 17-8-412. Relators re-allege and incorporate the
allegations in the preceding paragraphs as if set forth fully herein.

247. Defendants violated the Montana False Claims Act by engaging in the fraudulent
and illegal practices described herein, including knowingly causing false claims to be presented
to the State of Montana, as described herein.

248. As aresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Montana.

249. The State of Montana, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Montana would not otherwise have paid.

250. By reason of these payments, the State of Montana has been damaged, and

continues to be damaged, in a substantial amount.

EIGHTEENTH COUNT

54

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 57 of 67

Nevada Submission of False Claims to State or Local Government Act
Nev. Rev. Stat. Ann. §§ 357.010 — 357.250

251. This is aclaim for treble damages and civil penalties under the Nevada
Submission of False Claims to State or Local Government Act, Nev. Rev. Stat. Ann. §§ 357.010
— 357.250. Relators re-allege and incorporate the allegations in the preceding paragraphs as if
set forth fully herein.

252. Defendants violated the Nevada Submission of False Claims to State or Local
Government Act by engaging in the fraudulent and illegal practices described herein, including
knowingly causing false claims to be presented to the State of Nevada, as described herein.

253. As aresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Nevada.

254. The State of Nevada, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Nevada would not otherwise have paid.

255. By reason of these payments, the State of Nevada has been damaged, and
continues to be damaged, in a substantial amount.

NINETEENTH COUNT
New Jersey False Claims Act
N.J. Stat. §§ 2A:32C-1 et seq.

256. This is aclaim for treble damages and civil penalties under the New Jersey False
Claims Act, N.J. Stat. §§ 2A:32C-1 et seg. Relators re-allege and incorporate the allegations in
the preceding paragraphs as if set forth fully herein.

257. Defendants violated the New Jersey False Claims Act by engaging in the
fraudulent and illegal practices described herein, including knowingly causing false claims to be

presented to the State of New Jersey, as described herein.

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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 58 of 67

258.  Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of New Jersey.

259. The State of New Jersey, unaware of the false or fraudulent nature of these
claims, paid such claims which the State of New Jersey would not otherwise have paid.

260. By reason of these payments, the State of New Jersey has been damaged, and
continues to be damaged, in a substantial amount.

TWENTIETH COUNT
New Mexico Fraud Against Taxpayers False Claims Act,
N.M. Stat. Ann. §§ 44-9-1 et seq.

261. This isaclaim for treble damages and civil penalties under the New Mexico
Fraud Against Taxpayers False Claims Act, N.M. Stat. Ann. §§ 44-9-1 et seg. Relators re-allege
and incorporate the allegations in the preceding paragraphs as if set forth fully herein.

262. Defendants violated the New Mexico Fraud Against Taxpayers False Claims Act
by engaging in the fraudulent and illegal practices described herein, including knowingly causing
false claims to be presented to the State of New Mexico, as described herein.

263. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of New Mexico.

264. The State of New Mexico, unaware of the false or fraudulent nature of these
claims, paid such claims which the State of New Mexico would not otherwise have paid.

265. By reason of these payments, the State of New Mexico has been damaged, and

continues to be damaged, in a substantial amount.

TWENTY-FIRST COUNT
New York False Claims Act

56

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 59 of 67

N.Y. State Fin. Law §§ 187 et seq.

266. Thisis a claim for treble damages and civil penalties under the New York False
Claims Act, N.Y. State Fin. Law §§ 187 et seq. Relators re-allege and incorporate the
allegations in the preceding paragraphs as if set forth fully herein.

267. Defendants violated the New York False Claims Act by engaging in the
fraudulent and illegal practices described herein, including knowingly causing false claims to be
presented to the State of New York, as described herein.

268. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of New York.

269. The State of New York, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of New York would not otherwise have paid.

270. By reason of these payments, the State of New York has been damaged, and
continues to be damaged, in a substantial amount.

TWENTY-SECOND COUNT
New York City False Claims Act
Admin. Code §§ 7-801 et seq.

271. This is a claim for treble damages and civil penalties under the New York City
False Claims Act, Admin. Code §§ 7-801 et seg. Relators re-allege and incorporate the
allegations in the preceding paragraphs as if set forth fully herein.

272. Defendants violated the New York False Claims Act by engaging in the

fraudulent and illegal practices described herein, including knowingly causing false claims to be

presented to the City of New York, as described herein.

57

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 60 of 67

273.  Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the City of New York.

274. The City of New York, unaware of the false or fraudulent nature of these claims,
paid such claims which the City of New York would not otherwise have paid.

275. By reason of these payments, the City of New York has been damaged, and
continues to be damaged, in a substantial amount.

TWENTY-THIRD COUNT
North Carolina False Claims Act
N.C. Gen. Stat. §§ 1-605 ef seq.

276. This is aclaim for treble damages and civil penalties under the North Carolina
False Claims Act, N.C. Gen. Stat. §§ 1-605 et seq. Relators re-allege and incorporate the
allegations in the preceding paragraphs as if set forth fully herein.

277. Defendants violated the North Carolina False Claims Ac by engaging in the
fraudulent and illegal practices described herein, including knowingly causing false claims to be
presented to the State of North Carolina, as described herein.

278.  Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of North Carolina.

279. The State of North Carolina, unaware of the false or fraudulent nature of these
claims, paid such claims which the State of North Carolina would not otherwise have paid.

280. By reason of these payments, the State of North Carolina has been damaged, and

continues to be damaged, in a substantial amount.

TWENTY-FOURTH COUNT

58

 

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 61 of 67

Oklahoma Medicaid False Claims Act
Okl. Stat. Title 63 §§ 5053 et seq.

281. This is a claim for treble damages and civil penalties under the Oklahoma
Medicaid False Claims Act, Okl. Stat. Title 63 §§ 5053 et seg. Relators re-allege and incorporate
the allegations in the preceding paragraphs as if set forth fully herein.

282. Defendants violated the Oklahoma Medicaid False Claims Act by engaging in the
fraudulent and illegal practices described herein, including knowingly causing false claims to be
presented to the State of Oklahoma, as described herein.

283. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Oklahoma.

284. The State of Oklahoma, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Oklahoma would not otherwise have paid.

285. By reason of these payments, the State of Oklahoma has been damaged, and
continues to be damaged, in a substantial amount.

TWENTY-FIFTH COUNT
Rhode Island State False Claims Act
R.I. Gen. Laws §§ 9-1.1-1 et seq.

286. This is a claim for treble damages and civil penalties under the Rhode Island State
False Claims Act, R.I. Gen. Laws §§ 9-1.1-1 et seg. Relators re-allege and incorporate the
allegations in the preceding paragraphs as if set forth fully herein.

287. Defendants violated the Rhode Island State False Claims Act by engaging in the
fraudulent and illegal practices described herein, including knowingly causing false claims to be

presented to the State of Rhode Island, as described herein.

59

 

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 62 of 67

288.  Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Rhode Island.

289. The State of Rhode Island, unaware of the false or fraudulent nature of these
claims, paid such claims which the State of Rhode Island would not otherwise have paid.

290. By reason of these payments, the State of Rhode Island has been damaged, and
continues to be damaged, in a substantial amount.

TWENTY-SIXTH COUNT
Tennessee False Claims Act
Tenn. Code Ann. §§ 4-18-101 et seq.

291. This is aclaim for treble damages and civil penalties under the Tennessee False
Claims Act, Tenn. Code Ann. §§ 4-18-101 ef seg. Relators re-allege and incorporate the
allegations in the preceding paragraphs as if set forth fully herein.

292. Defendants violated the Tennessee False Claims Act by engaging in the
fraudulent and illegal practices described herein, including knowingly causing false claims to be
presented to the State of Tennessee, as described herein.

293. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Tennessee.

294. The State of Tennessee, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Tennessee would not otherwise have paid.

295. By reason of these payments, the State of Tennessee has been damaged, and

continues to be damaged, in a substantial amount.

TWENTY-SEVENTH COUNT

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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 63 of 67

Tennessee Medicaid False Claims Act
Tenn. Code. Ann. §§ 71-5-181 et seq.

296. This is a claim for treble damages and civil penalties under the Tennessee
Medicaid False Claims Act, Tenn. Code. Ann. §§ 71-5-181 ef seg. Relators re-allege and
incorporate the allegations in the preceding paragraphs as if set forth fully herein.

297. Defendants violated the Tennessee Medicaid False Claims Act by engaging in the
fraudulent and illegal practices described herein, including knowingly causing false claims to be
presented to the State of Tennessee, as described herein.

298. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Tennessee.

299. The State of Tennessee, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Tennessee would not otherwise have paid.

300. By reason of these payments, the State of Tennessee has been damaged, and
continues to be damaged, in a substantial amount.

TWENTY-EIGHTH COUNT
Texas Medicaid Fraud Prevention Law
Tex. Hum. Res. Code Ann. §§ 36.001 — 36.132

301. This is aclaim for treble damages and civil penalties under the Texas Medicaid
Fraud Prevention Law, Tex. Hum. Res. Code Ann. §§ 36.001 — 36.132. Relators re-allege and
incorporates the allegations in the preceding paragraphs as if set forth fully herein.

302. Defendants violated the Texas Medicaid Fraud Prevention Law by engaging in
the fraudulent and illegal practices described herein, including knowingly causing false claims to

be presented to the State of Texas, as described herein.

61

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 64 of 67

303. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Texas.

304. The State of Texas, unaware of the false or fraudulent nature of these claims, paid
such claims which the State of Texas would not otherwise have paid.

305. By reason of these payments, the State of Texas has been damaged, and continues
to be damaged, in a substantial amount.

TWENTY-NINTH COUNT
Virginia Fraud Against Taxpayers Act
Va. Code Ann. §§ 8.01-216.1 — 216.19

306. This is aclaim for treble damages and civil penalties under the Virginia Fraud
Against Taxpayers Act, Va. Code Ann. §§ 8.01-216.1 — 216.19. Relators re-allege and
incorporate the allegations in the preceding paragraphs as if set forth fully herein.

307. Defendants violated the Virginia Fraud Against Taxpayers Act by engaging in the
fraudulent and illegal practices described herein, including knowingly causing false claims to be
presented to the Commonwealth of Virginia, as described herein.

308. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Commonwealth of Virginia.

309. The Commonwealth of Virginia, unaware of the false or fraudulent nature of
these claims, paid such claims which the Commonwealth of Virginia would not otherwise have
paid.

310. By reason of these payments, the Commonwealth of Virginia has been damaged,

and continues to be damaged, in a substantial amount.

62

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 65 of 67

THIRTIETH COUNT
Wisconsin False Claims for Medical Assistance Law
Wis. Stat. § 20.931

311. This is a claim for treble damages and civil penalties under the Wisconsin False
Claims for Medical Assistance Law, Wis. Stat. § 20.931. Relators re-allege and incorporate the ’
allegations in the preceding paragraphs as if'set forth fully herein.

312. Defendants violated the Wisconsin False Claims for Medical Assistance Law, by
engaging in the fraudulent and illegal practices described herein, including knowingly causing
false claims to be presented to the State of Wisconsin, as described herein.

313. Asa result of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the State of Wisconsin.

314. The State of Wisconsin, unaware of the false or fraudulent nature of these claims,
paid such claims which the State of Wisconsin would not otherwise have paid.

315. By reason of these payments, the State of Wisconsin has been damaged, and
continues to be damaged, in a substantial amount.

THIRTY-FIRST COUNT
The City of Chicago False Claims Act
Municipal Code §§ 1-21-010 et seq.

316. This is aclaim for treble damages and civil penalties under the City of Chicago
False Claims Act, Municipal Code §§ 1-21-010 et.seg. Relators re-allege and incorporate the
_ allegations in the preceding paragraphs as if set forth fully herein.

317. Defendants violated the City of Chicago False Claims Act by engaging in the

fraudulent and illegal practices described herein, including knowingly causing false claims to be

presented to the City of Chicago, as described herein.

63

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 66 of 67

318. Asaresult of the misconduct alleged herein, Defendants knowingly made, used,
or caused to be made or used, a false record or statement to get a false or fraudulent claim paid or
approved by the City of Chicago.

319. The City of Chicago, unaware of the false or fraudulent nature of these claims,
paid such claims which the City of Chicago would not otherwise have paid.

320. By reason of these payments, the City of Chicago has been damaged, and

continues to be damaged, in a substantial amount.

PRAYER FOR RELIEF
WHEREFORE, Relator respectfully requests this Court enter judgment against

the Defendants as follows:

(1) that the United States and/or any State be awarded damages in the amount of the

United States’ and/or any State’s damages, trebled, as required by law;
(2) such civil penalties as are required by law;

(3) attorneys’ fees, costs, and expenses that Relator necessarily incurred in bringing and

pressing this case forward;

64

 
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Case 2:17-cv-02040-JD Document1 Filed 05/03/17 Page 67 of 67

(4) that Relator be awarded the maximum amount allowed to her pursuant to the federal

and/or any State’s False Claims Act; and

(5) that this Court order such other and further relief as it deems proper.

DATE: 3 (Ta 2o}17]

BY:

ANAPOL WEISS

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65

 

 

 
